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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PETER SAUERS,                                                        CIVIL ACTION
                       Plaintiff
               v.

OAK PROPERTY MANAGEMENT LP., et al.,                                 No. 19-01429
              Defendants


                                             ORDER

       AND NOW, on this 6th day of December, 2019, upon consideration of the Defendants'

motion to dismiss (Doc. No. 5), the Defendants' amended brief in support of their motion to

dismiss (Doc. No. 10), the Plaintiffs opposition (Doc. No. 15), the Plaintiffs motion to amend

the complaint (Doc. No. 14), the Defendants' opposition (Doc. Nos. 18, 19), the Plaintiffs reply

(Doc. No. 25), and the Plaintiffs discovery motion (Doc. No. 7), it is ORDERED that the

Defendants' motion to dismiss (Doc. No. 5) is GRANTED, the Plaintiffs motion to amend the

complaint (Doc. No. 14) is DENIED WITHOUT PREJUDICE, and the Plaintiffs discovery

motion (Doc. No. 7) is DENIED WITHOUT PREJUDICE. As set forth in the accompanying

Memorandum, the Plaintiff shall have thirty (30) days from the entry of this Order to file a renewed

motion to amend the complaint.




                                                                 ATES DISTRICT JUDGE
